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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            :
                                    :
            v.                      :               CRIMINAL NO. 1-22-cr-38 (CKK)
                                    :
JOLENE EICHER                       :
                                    :
____________________________________:


                            MOTION TO REPLACE COUNSEL


   Jolene Eicher, through undersigned counsel moves this Honorable Court to allow counsel to

   withdraw and to appoint new counsel. In support of this motion, on behalf of Ms Eicher,

   counsel states as follows:

   1. Jolene Eicher is before the Court charged by Information with violations of one count each

      of: Entering and Remaining in a Restricted Building, 18 U.S.C. § 1752(a)(1); Disorderly

      and Disruptive Conduct in a Restricted Building, 18 U.S.C. § 1752(a)(2); Violent Entry

      and Disorderly Conduct on a Capitol Building, 40 U.S.C. §5104(e)(2(D); and Parading,

      Demonstrating, or Picketing in a Capitol Building, 40 U.S.C. §5104(e)(2)(G). A trial date

      is set for 5th June 2023.

   2. On 1st February 2023, following discussions with government counsel and Ms Eicher,

      counsel filed a Consent Motion to Vacate the currently set trial date. The Court denied that

      Motion on the same date.

   3. At a status hearing on 9 March 2023, the Court indicated it would be willing to consider

      appointing new counsel for Ms Eicher, should she wish. After significant consultation

      between counsel and Ms Eicher, Ms Eicher asserts she would request the Court appoint
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                       new counsel and to allow current counsel to withdraw in this matter. Ms Eicher requests

                       the Court appoint new counsel forthwith.

                    4. Counsel has engaged the assigned Assistant U.S. Attorney on this matter: Mr Christopher

                       Brunwin. Mr Brunwin is aware of this request.



                    WHEREFORE, for the above reasons, undersigned counsel and Jolene Eicher, respectfully

                    request that this Court grant this Motion to Replace Counsel in the above-captioned proceeding

                    and to appoint new counsel.



                                                             Respectfully Submitted,

                                                             /s/ Peter A. Cooper
                                                             Peter A. Cooper, (#478-082)
                                                             400 Fifth Street, NW.
                                                             Suite 350
                                                             Washington DC 20001
                                                             pcooper@petercooperlaw.com
                                                             Counsel for Jolene Eicher




                                                  CERTIFICATE OF SERVICE
PeterCooperLaw




                         I HEREBY CERTIFY that a copy of the foregoing Motion to Replace Counsel is being
                 filed via the Electronic Court Filing System (ECF), causing a copy to be served upon
                 government counsel of record, this 14th day of March, 2023.


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                                            /s/ Peter A. Cooper
                                            Peter A. Cooper
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